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                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 THOMAS M. FINCH                          CIVIL ACTION

                    v.

 NORFOLK SOUTHERN RAILWAY
 COMPANY                                  NO. 12-5966

                         DEFENDANT’S STATUS REPORT

      On October 31, 2013, Defendant received Plaintiff, Thomas Finch’s

executed Release.

      Upon notification that the Bankruptcy Court has approved the settlement,

Defendant will forward a settlement check to Mr. Finch’s attorney.

                                            Respectfully submitted,


Dated: October 31, 2013                     MR2396
                                            MAUREEN ROWAN, ESQUIRE
                                            Gallagher & Rowan, P.C.
                                            1800 JFK Boulevard, Suite 1000
                                            Philadelphia, PA 19103
                                            Attorney for Defendant
